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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

              Plaintiff,

v.                                     Civil Action No. 1:20-cv-03590-JEB


META PLATFORMS, INC.

Defendant.



PLAINTIFF FEDERAL TRADE COMMISSION’S MEMORANDUM IN SUPPORT OF
  MOTION TO COMPEL ANSWERS TO INTERROGATORY NOS. 10, 11, AND 12
     REGARDING DEFENDANT META PLATFORMS, INC.’S ASSERTED
                PROCOMPETITIVE JUSTIFICATIONS
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       Meta attempts to defend its illegal monopolization of personal social networking services

with vague allegations that its acquisitions of Instagram and WhatsApp produced procompetitive

benefits. When asked to describe these purported benefits, Meta has to date repeatedly recycled

responses that are

Meta’s Objs. & Resps. to FTC’s First Set of Interrogs. at 32, 44 (June 27, 2022) (Ex. 1), and

referred to a hodgepodge of documents. Accordingly, the FTC served Interrogatories 10, 11, and

12 to probe Meta’s                summaries and self-serving conclusions. Meta has not provided

adequate responses, and the FTC therefore asks the Court to compel responses that will provide

the specificity and relevant facts that are required if Meta seeks to advance its affirmative defenses

at trial. See infra § I. Alternatively, if Meta has no further support for its purported procompetitive

justifications beyond its current interrogatory responses, Meta should certify to that effect—and

should not then be heard to surface with new evidence after the close of fact discovery.

                                         BACKGROUND

       Meta injected procompetitive benefit claims into this litigation when it asserted its Fourth

and Fifth Affirmative Defenses, claiming that “there were procompetitive justifications” for the

Instagram and WhatsApp acquisitions. Meta’s Answer at 38, ECF No. 94. Immediately thereafter,

the FTC began a more than year-long effort to identify the full set of procompetitive justifications

that Meta is claiming, as well as their factual bases.

       The FTC attempted to collect this information through multiple avenues. Specifically, the

FTC served Interrogatories 5 and 6 on May 26, 2022, asking Meta to “identify and describe” the

procompetitive justifications supporting its affirmative defenses, and “each improvement” it

contends it brought to Instagram and WhatsApp. FTC’s First Set of Interrogs. at 2 (May 26, 2022)

(Ex. 2). Meta responded by asserting that it delivered



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                        Meta’s Supp. Objs. & Resps. to FTC’s Interrogs. at 9-11 (Nov. 30, 2022)

(Ex. 3). Further, Meta proceeded to provide only a



                                              Meta’s Supp. Objs. & Resps. to FTC’s Interrog. No.

6 at 4, 6, 11, 14 (Sept. 22, 2022) (Ex. 4).

       Seeking to probe beneath these generalities, the FTC served its First Requests for

Admission (“RFA”) on December 16, 2022, asking Meta (among other things) to admit that Meta

could not identify the resources that Meta claims it contributed to specific alleged improvements.

Meta                            . Meta’s Objs. & Resps. to the FTC’s First Set of RFAs at 5-8 (Jan.

17, 2023) (Ex. 5). Thus, Meta maintained in its RFA responses that it




       Trying again, the FTC served Interrogatories 10, 11, and 12 on January 30, 2023.

Interrogatory 10 seeks highly relevant details concerning Meta’s claimed benefits, including the

nature and magnitude of each purported benefit, what particular means and methods Meta used to

achieve them, and Meta’s factual basis for asserting the benefit was achieved. Interrogatory 11

seeks information on the means and methods Meta employs to manage integrity issues—one of

Meta’s major procompetitive benefit categories—on its applications. Interrogatory 12 seeks detail

on the “monetary, technological, or personnel resources” Meta contends contributed to its claimed

improvements, including the basis for Meta’s denial of the First RFAs related to the same subject.



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        Meta responded to Interrogatory 10 with high-level descriptive text and referrals to

document batches, again tracking broad categories. Meta’s Objs. & Resps. to FTC’s Third Set of

Interrogs. at 10-33 (Mar. 1, 2023) (Ex. 6). Disconcertingly, Meta asserted that it was




                                                                                   (see, e.g., id. at

24). Meta refused entirely to respond to Interrogatory 11 and for Interrogatory 12, simply referred

to its Interrogatory 10 response. Id. at 35, 36-40. Following multiple meet and confers, and futile

efforts by the FTC to explain and tailor its requests, this motion ensued.

                                          ARGUMENT

        The FTC has tried for over a year to discover the specifics of Meta’s procompetitive

justifications. In response, Meta has repeatedly recycled the same high-level, conclusory, and

largely unsupported assertions it first put forward approximately two-and-a-half years ago during

the FTC’s investigation. Meta attempts to elide its obligations to respond fully by claiming,

variously, that it




        Meta’s position is untenable. Meta asserts that it has achieved procompetitive benefits,

and the information regarding those benefits is within its sole control—Meta cannot claim it

requires discovery from nonparties or from the FTC to specify the benefits it claims. As such,

Meta should provide the detail requested in Interrogatories 10 through 12. Absent these details,

the FTC is left in the dark regarding how Meta allegedly achieved these “benefits” as well as its

supposed factual support, and faces an unacceptable risk of ambush at summary judgment or trial.



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Alternatively, if Meta lacks factual support for its assertions and/or cannot provide the legally

required details the FTC demands, Meta should make that concession today.

  I.   Meta Bears the Burden of Substantiating Its Claimed Procompetitive Justifications

       As described above, Meta asserts that it can avoid liability by proffering a “‘procompetitive

justification’ for its conduct”—that is, a “nonpretextual claim that [the] conduct is indeed a form

of competition on the merits because it involves, for example, greater efficiency or enhanced

consumer appeal.” United States v. Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001); see Meta’s

Answer at 38, ECF No. 94. For this defense to succeed, Meta must establish several elements.

First, Meta must show that its claimed benefits are real or actual. E.g., Microsoft, 253 F.3d at 72

(“Microsoft had an opportunity to, but did not, present the District Court with evidence

demonstrating that the exclusivity provisions have some such procompetitive justification.”).

       Second, the claimed benefits must not be pretextual. Id. at 59. A claimed justification is

invalid if it did not motivate the challenged conduct. See Image Tech. Svcs., Inc. v. Eastman Kodak

Co., 125 F.3d 1195, 1219 (9th Cir. 1997) (“Evidence regarding the state of mind of Kodak

employees may show pretext, when such evidence suggests that the proffered business justification

played no part in the decision to act.”); Graco Inc. v. PMC Glob., Inc., 2012 WL 762448, at *14

(D.N.J. Mar. 6, 2012) (“Graco provides no contemporaneous evidence that the Best Efforts Letter

was motivated by an emphasis on reducing customer confusion or preventing free-riding.”).

       Third, the disputed conduct must be “necessary to achieve” the purported benefits; that is,

the purported benefits must not be achievable through other means. See Viamedia, Inc. v. Comcast

Corp., 951 F.3d 429, 478 (7th Cir. 2020) (requiring defendant to demonstrate that the disputed

conduct “was the result of, or necessary to achieve, much greater procompetitive benefits”);

Multistate Legal Studies, Inc. v. Harcourt Brace Jovanovich Legal & Prof. Publ’ns, Inc., 63 F.3d



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1540, 1550 (10th Cir. 1995) (“Predatory practices are illegal if they impair opportunities of rivals

and are not competition on the merits or are more restrictive than reasonably necessary for such

competition[.]”); see also Kreuzer v. Am. Acad. of Periodontology, 735 F.2d 1479, 1494-95 (D.C.

Cir. 1984) (requiring the physician association to show that its requirement that members practice

periodontics exclusively was the least restrictive means for protecting patient care).

       Finally, magnitude matters as well. Where a monopolist employs acquisitions to maintain

its monopoly power, it must provide “overwhelming” evidence that its claims are nonpretextual,

that the claimed benefits were actually achieved and are “substantial,” and that they could not have

been achieved through other means. Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An

Analysis of Antitrust Principles and Their Application ¶ 701h (due to the “peculiarly strong interest

in preventing unjustified mergers creating or reinforcing monopoly,” “an efficiency defense cannot

be allowed in monopoly cases [involving an acquisition] in the absence of an overwhelming

demonstration that substantial efficiencies are involved and either cannot be achieved in other

ways or will inevitably destroy the other firms”).

 II.   Meta’s Interrogatory No. 10 Response Is Materially Deficient

       Consistent with the legal standard for evaluating procompetitive benefit claims,

Interrogatory No. 10 asks Meta to specifically describe: each claimed procompetitive benefit,

including its magnitude; the specific actions Meta took to achieve the benefit; whether the benefit

could have been achieved absent the challenged acquisitions, including whether Meta claims the

benefit was achieved earlier than it could have without the acquisitions; and whether Meta

contemplated the claimed benefit at the time it decided to acquire either Instagram or WhatsApp.

The interrogatory additionally requests that Meta describe the basis for its contentions and identify

and describe any documents that support its assertions as to the foregoing issues.



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       Meta refused to provide the information requested, and instead merely incorporated by

reference the vague and high-level responses it submitted in response to Interrogatories No. 5 and

6, supplemented with lists of documents that lack any context or explanation and fail to supply the

details requested in the interrogatory. In short, Meta’s response is materially deficient because it

fails to address each of the relevant and reasonable components of Interrogatory 10.

       Meta’s responses for each of its broad categories of purported procompetitive benefit

claims—for example, related to                                                    —fail to provide

more than one of the foregoing requested types of information. To elucidate the deficiencies, we

describe how they manifest with respect to two of Meta’s categorical claims—purported              -

related benefits for Instagram and purported                   related benefits for WhatsApp—but

these examples are illustrative only.

       Purported            -Related Benefits for Instagram: Meta stated in its Interrogatory 10

response that a “procompetitive benefit” of the Instagram acquisition is that

                                                                     Ex. 6 at 12. Meta’s response,

however, fails to provide any of the requested information regarding this “benefit.” To start, the

claim is too vague. The concept of

                                                                                            Meta’s

response fails to identify the                     at issue, or to concretely describe the nature of

the purported           benefits—much less does the response provide supporting information or

evidence for Meta having delivered any supposed benefits.

       In turn, Meta’s response to 10(a) then fails to describe in anything other than vague and

conclusory terms the purported                           Meta provided to Instagram for addressing

          Although the response refers to 27 documents, four websites, and six depositions under



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the general heading               for Instagram, those materials do not clearly describe

benefits or Meta’s methods of achieving them. Id. at 16-17. Meta’s response also cites its

responses to Interrogatories 5 and 6, id. at 13, but those responses provide no detail about the

specific actions taken to address the                            that Meta alludes to; instead, they

simply repeat the conclusory assertion that Meta supposedly delivered

                                                                  Ex. 4 at 7. Details of what tools or

methods Meta was using are critical to understanding (among other things) if the claimed benefits

were achievable absent the acquisition.

       Meta’s response to 10(b) also fails to specify the magnitude of the purported

benefits delivered to Instagram. Meta’s 10(b) response cites its Interrogatory 6 response, as well

as descriptions of

                      Ex. 6 at 29-30. This is deficient both because it fails to identify metrics for

the entire period for which Meta has claimed              benefits, and because

                                           does not explain whether or how those metrics improved

post-transaction and how any such improvements are attributable to the acquisition (e.g., what, if

any, benefits Meta delivered on top of what Instagram was or could be doing).

       Meta’s response to 10(c) and (d) are also deficient. Meta’s 10(c) response redirects the

FTC to its Interrogatory 5 response, but this response says nothing about whether the claimed

Instagram            benefits could have been achieved without the acquisition. Meta’s response to

10(d) is similarly deficient because it merely points back to its responses to 10(b) and (c), neither

of which provide any basis for Meta’s vague assertion that it might have achieved benefits more

quickly as a result of the acquisition, and neither of which provide any indication of how much

more quickly benefits were supposedly achieved.



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       Finally, Meta’s response to 10(e) for this claim is also deficient. Interrogatory 10(e) asks

whether Meta’s Board of Directors contemplated the particular benefit at the time of the

acquisition. FTC’s Third Set of Interrogs. at 2 (Jan. 30, 2023) (Ex. 7). Meta responded by

redirecting the FTC to its Interrogatory 5 response. That response, however, dances around the

information requested by failing to state clearly whether the benefit was contemplated “at the time”

the acquisition was approved by the Board of Directors. Id. Instead, Meta responded with an

unsupported assertion that the benefit was                                                        Ex.

3 at 13. This is deficient because this specific information should be easy to provide—Meta should

know, and be able to document, whether delivering              benefits was a rationale for acquiring

Instagram that was presented to Meta’s board prior to the acquisition.

       Purported                   -Related Benefits for WhatsApp:         Meta’s Interrogatory 10

response stated that one of the “procompetitive benefits” of the WhatsApp acquisition was that




           Ex. 6 at 13.

       Meta’s Interrogatory 10 response as to this assertion is likewise wholly deficient because

it fails to provide nearly all the requested information regarding this purported “benefit.” As an

initial matter, the claimed “benefit” is vague, as it neither specifies what synergies or efficiencies

resulted from WhatsApp’s use of Meta’s                        nor identifies what enhancements or

developments were made to the WhatsApp user experience. Absent these details, the FTC is left

to guess how, if at all, WhatsApp’s use of Meta’s

                              produced any procompetitive benefits—and even what exactly the



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purported procompetitive benefits are (e.g., what particular synergies, efficiencies, enhancements,

or developments to the WhatsApp user experience are even being claimed).

       Next, Meta’s 10(a) response for this claim does not identify a single specific action that led

to a synergy, efficiency, enhancement, or development of the customer experience. While Meta

refers the FTC to 32 documents and two depositions under the ambiguous heading

for WhatsApp, Meta makes no attempt to identify which documents show that a synergy resulted

from WhatsApp’s use of any of Meta’s                           Ex. 6 at 20-21.     And while Meta

incorporates by reference its responses to Interrogatories 5 and 6, id. at 13, those responses provide

no insight either. The FTC is therefore left in the dark about what specific                resources

or actions Meta claims to have brought to bear to improve WhatsApp—a critical piece of

information for assessing (among other things) if the benefits were achievable without the

acquisition.

       Further, Meta’s response to 10(b) is deficient because it does not identify the amount of

any synergies or efficiencies that resulted from WhatsApp’s use of Meta’s

                                                   In fact, the terms “synergy” and “efficiency” do

not even appear in Meta’s response to 10(b). Again, Meta’s responses to Interrogatories 5 and 6

are of no help. The only discussion of synergies and efficiencies is a nearly identical version of

the generically asserted “benefit” quoted earlier:




                                 Ex. 3 at 15.

       Meta’s responses to 10(c) and (d) are also deficient. Instead of directly addressing whether

the synergies, efficiencies, and focus on enhancing the customer experience are benefits that could



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have been achieved absent the WhatsApp acquisition, Meta sidesteps 10(c) by broadly claiming



                                                                    Ex. 6 at 31. While Meta again

points the FTC to its Interrogatory 5 response to round out its response to 10(c), as noted above,

the only discussion of synergies, efficiencies, and focus on the customer experience in the

Interrogatory 5 response is an unsupported statement that Meta believed that those benefits would

occur at the time of the WhatsApp acquisition. Meta’s response to 10(d) is similarly deficient

because it merely points back to its responses to 10(b) and (c), neither of which, as previously

mentioned, discuss the connection between WhatsApp’s use of Meta’s

                                                and synergies, efficiencies, or the ability to focus

on enhancing the experience for WhatsApp users.

                                 *              *               *

       Meta’s failure to disclose facts that support its claimed procompetitive benefits, including

providing the details requested in Interrogatory 10, is prejudicial to the FTC’s ability to respond

to and rebut Meta’s defenses, and to conduct fact discovery. For example, while the FTC knows

that Meta is making conclusory assertions that it improved               on Instagram, the FTC is

hampered in its ability to probe that assertion because (among other things) it does not know

Meta’s evidentiary basis for the assertion—or other relevant facts bearing on whether the claim is

legally sufficient, such as whether Meta has evidence that this claimed benefit was a rationale for

the transaction or the means Meta is claiming to have used to achieve the benefit (and therefore

whether the benefit was achievable without the acquisition). Cf. Microsoft, 253 F.3d at 59

(plaintiff may attempt to “rebut” the defendant’s claimed procompetitive justification). More

generally, because the FTC does not know what facts Meta has to support its procompetitive



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justifications, the magnitude of those benefits, or how Meta claims to have achieved each of them,

the FTC does not know which witnesses may possess relevant information or what questions to

ask to probe Meta’s generalized assertions.

       Meta’s arguments against providing the requested information are unavailing. First, Meta

claims it provided a “detailed 22-page narrative response.” March 16, 2023 Joint Status Report

(“JSR”) at 17, ECF No. 258. But on its face, as detailed above, Meta’s response does not provide

the requested information—at all, much less as to each purported benefit. Indeed, Meta concedes

that it has not done so. Id. (arguing instead that its response “describes the primary ways it has

improved Instagram and WhatsApp”). This is not an adequate response. See In re Rail Freight

Fuel Surcharge Antitrust Litig., 281 F.R.D. 3, 6-7 (D.D.C. 2011) (ordering response to an

Interrogatory and explaining, “[i]f the question is how fast were you going when you hit the other

car, a narrative answer that speaks of the accident but does not mention how fast the person

answering was driving would not comply [with] that person’s obligation to answer the question”).

       Second, Meta suggests it is not “required” to support its affirmative defenses in more detail.

JSR at 17, ECF No. 258; see also Ex. 6 at 11

                                                                                                  As

support for this, Meta even suggests tha

                     See Ex. 6 at 12



                                                   Meta is wrong concerning what the law requires

of a Section 2 defendant in support of procompetitive benefit claims. See supra § I. But in any

event, Interrogatory 10 seeks relevant information within Meta’s control and therefore warrants a

complete response, regardless of what Meta believes is legally required to support its affirmative



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defenses. Further, accepting Meta’s incorrect suggestion that

                    would only bolster the FTC’s justification for receiving the requested

information: a Section 2 plaintiff cannot respond to a defendant’s purported procompetitive

benefits that are not detailed or substantiated in the first place.

        Finally, Meta’s suggestion that the interrogatories call for “premature” expert testimony is

vague, conclusory, and troubling. JSR at 17, ECF No. 258; Ex. 6 at 11, 24, 27-29, 31, 32. The

information that the FTC seeks is entirely factual, and not the domain of expert testimony. Meta

claims to have achieved these purported benefits in the ordinary course of its business, and as such,

should have ordinary course evidence to substantiate them. Thus, it is not clear what Meta

considers “expert” about the requested information, and this is no basis for refusing to respond.

See King v. E.F. Hutton & Co., 117 F.R.D. 2, 5-6 (D.D.C. 1987) (a party is not excused from fully

responding to an interrogatory with the information in its possession even if it needs “to consult

with an expert” before answering interrogatories). Further, all the requested facts, to the extent

they exist, are within Meta’s exclusive control; and Meta is the only one who knows whether such

evidence exists. This dynamic heightens the peril and potential for ambush and surprise. Given

the FTC’s repeated attempts to uncover such information over the past year, Meta should not be

permitted to introduce new evidence in its expert reports, dispositive motions practice, or at trial.

        The FTC therefore moves to compel responses to Interrogatories 10(a)-(f) that provide, on

a benefit-by-benefit basis, the foregoing incomplete information, or—if Meta has no further

information—that Meta be required to so certify.

III.    Meta’s Interrogatory No. 11 Response Is Materially Deficient

        Meta refused entirely to provide a substantive response to Interrogatory 11. Interrogatory

No. 11 requests that Meta identify and describe the “specific methods, tools, or actions” taken to



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manage or address integrity on the Facebook Family of Apps (including Instagram and WhatsApp

prior to the acquisitions) and when they were deployed on each application. Ex. 7 at 2.

       This information is relevant because, as described above, Meta is making broad and

conclusory assertions of having improved                  issues on Instagram and (perhaps, but not

entirely clearly) WhatsApp. See supra at 6-8; Ex. 6 at 12-13. In asserting these claims, Meta

vaguely suggests it has                                                                       , while

providing no detail regarding those strategies. See Ex. 6 at 12

                                                      Pushing past this vagueness, Interrogatory 11

asks Meta to describe what methods it is using to manage integrity on Instagram and WhatsApp,

so that the FTC can—among other things—probe whether Meta in fact delivered integrity benefits

to Instagram and WhatsApp, and whether those benefits are unique to the acquisitions, as opposed

to being the product of strategies available without Meta. The interrogatory also requests

information about Meta’s integrity approaches for the Facebook Family of Apps, given Meta’s

suggestion that it used Facebook’s approaches to assist Instagram. Ex. 7 at 2.

       Despite the clear relevance of the information, Meta refused entirely to respond, claiming

the interrogatory is overbroad and purports to

                                                                     Ex. 6 at 35. To be clear, this

Interrogatory does not ask Meta to respond in the caricatured manner that Meta describes. Instead,

as is clear from its face, Meta is asked to provide only “specific methods, tools, or actions,” not to

identify each occasion that Meta has used those various techniques. The FTC made this clear in a

meet and confer, and subsequent correspondence, to no avail. JSR Ex. L at 5, ECF No. 258-9.

       Meta has also incorrectly claimed that it has already answered Interrogatory 11, pointing

to replies to Interrogatories No. 5, 6, 8, 9, and 10 and Request for Production of Documents



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(“RFP”) No. 93. JSR at 21, ECF No. 258. But Meta’s responses to Interrogatories No. 5 and 6

nowhere describe the specific methods, tools, or actions taken by Meta to manage or address

integrity on the Facebook Family of Apps during the relevant period. Likewise, Interrogatories

No. 8 and 9 and RFP No. 93 concerned third-party products and services contracted by Meta, and

did not ask Meta to describe its overall integrity methods or tools, which is the focus of

Interrogatory No. 11. And as already described supra § II, Meta’s response to Interrogatory No.

10 also fails to address the specific methods, tools, and actions concerning Meta’s             efforts

for the Facebook Family of Apps. As such, Meta has not yet provided the information sought in

Interrogatory No. 11.

       Given the relevance of the information and the baselessness of Meta’s objections, the FTC

therefore moves to compel a complete response to Interrogatory No. 11.

IV.    Meta’s Interrogatory 12 Response Is Materially Deficient

       As an additional effort to understand what evidence Meta possesses to support its

procompetitive justifications, the FTC served a series of RFAs asking Meta to admit that it could

not identify the “monetary, technological, or personnel resources [that] contributed either

separately or collectively” to each procompetitive benefit it is claiming. Ex. 5 at 5-8. Meta



                                                                                                    Id.

Following Meta’s                        , the FTC served Interrogatory No. 12, which requests a

description of the “monetary, technological, or personnel resources” Meta contends contributed to

its claimed procompetitive benefits—thereby independently requesting relevant information and

probing the basis for Meta’s                      . Ex. 7 at 2-3.




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       Meta did not meaningfully respond to Interrogatory No. 12—and instead only pointed to

Meta’s previously described and wholly deficient response to Interrogatory No. 10. JSR at 22-23,

ECF No. 258. As noted above, however, Meta’s response to Interrogatory No. 10 fails to identify

the specific actions it took to achieve its claimed benefits, and does not identify the “monetary,

technological, or personnel resources [that] contributed either separately or collectively” to each

procompetitive benefit it is claiming. Supra 5-12. Meta’s referral to its Interrogatory 10 response

is therefore non-responsive.

       Meta’s                                 should have been based on something—and Meta’s

responses to Interrogatory 10 do not describe or explain whatever that is. The FTC therefore

moves to compel a Response to Interrogatory No. 12 that provides the foregoing incomplete

information, or—if Meta has no further information—that Meta be required to so certify.

                                         CONCLUSION

       For the foregoing reasons, the FTC respectfully requests that the Court order Meta to

provide the following no later than April 28, 2023:

       (1) for each claimed procompetitive justification, a complete response to Interrogatory
           10(a)-(f) that either (a) provides relevant facts and supporting evidence or (b) certifies
           that Meta has no further information;

       (2) a complete response to Interrogatory 11; and

       (3) for each procompetitive benefit, a complete response to Interrogatory 12 that either (a)
           provides relevant facts about the monetary, technological, and personnel resources that
           contributed to each claimed benefit or (b) certifies that Meta has no further information.




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Dated: March 31, 2023                   Respectfully submitted,


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                                        Federal Trade Commission




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 31st day of March 2023, I authorized the electronic filing
of the foregoing with the Clerk of the Court using the CM/ECF system, which will send a Notice
of Electronic Filing to all counsel of record.



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